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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

RREF RB-AL SLDL, LLC,     )
                          )
     Plaintiff,           )
                          )
v.                        )
                          )
                                            CIVIL ACTION NO.
SAXON LAND DEVELOPMENT    )
                                            2:11-cv-00925-MEF-TFM
LLC, CLIFFORD W.          )
CLEVELAND, AND RICHARD M. )
DORSEY,                   )
                          )
     Defendants.          )

      PLAINTIFF'S MOTION TO DISMISS CERTAIN CLAIMS,
FOR THE ENTRY OF FINAL JUDGMENT AND FOR RELATED RELIEF

             COMES NOW plaintiff RREF RB-AL SLDL, LLC ("RREF"), by and

through its counsel, and pursuant to Rule 41(a)(2) of the Federal Rules of Civil

Procedure (the "Rules"), files this motion (this "Motion") seeking the entry of an

order dismissing, without prejudice: (i) RREF's claims of money had and received

and unjust enrichment against defendants Clifford W. Cleveland ("Cleveland") and

Richard M. Dorsey ("Dorsey") (Counts III and IV of the Amended and Restated

Complaint) (Docket No. 33) (the "Complaint"); and (ii) RREF's claims of account

stated against each of Cleveland, Dorsey, and Saxon Land Development Company,

LLC ("Saxon," together with Cleveland and Dorsey, the "Defendants") (Count V

of the Complaint). RREF further requests, pursuant to Rule 58(a) and (d), the


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entry of a final judgment against Defendants consistent with the Court's Order

dated September 6, 2013 which partially granted and partially denied RREF's

motion for summary judgment (Docket No. 59) (the "Summary Judgment Order"),

setting forth the amount of the judgment to which RREF is entitled. RREF also

requests that the Receiver appointed in this case pursuant to this Court's Order

dated February 23, 2012 (Docket No. 17) (the "Receivership Order"), remain in

place and in possession of the Receivership Property until such time as RREF

requests the termination of the receivership. In support of this Motion, RREF

states as follows:

                              FACTUAL BACKGROUND
             1.   RREF originally filed suit against Defendants on October 27, 2011,

seeking to recover the outstanding indebtedness owing by Defendants to RREF.

On December 19, 2011, RREF filed its motion seeking the appointment of a

receiver over the collateral which secures the outstanding debt on contractual and

equitable grounds. See Docket No. 14. On February 23, 2012, the Court entered

it’s the Receivership Order, and appointed Franklin Street Management Services

("Franklin Street") as Receiver. See Docket No. 17.

             2.   Subsequent to the entry of the Receivership Order, Franklin Street

took possession of the Receivership Property and commenced administrating the




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Receivership Property pursuant to the terms of the Receivership Order, and

continues to do so.

             3.   On June 27, 2012, RREF filed its Amended and Restated Complaint

(the "Complaint") against the Defendants, alleging counts of breach of contract

(Counts I and II), money had and received and unjust enrichment (Counts III and

IV), and account stated (Count V). See Docket No. 33.

             4.   On November 9, 2012, RREF filed its motion for summary judgment,

together with its supporting brief and evidentiary materials (Docket Nos. 45–47),

seeking the entry of summary judgment against Defendants on all counts of the

Complaint.

             5.   On September 6, 2013, the Court entered its Order partially granting

and partially denying RREF's summary judgment motion. See Docket No. 59.

The Court granted RREF's motion as to its breach of contract claims against all

Defendants, its equitable claims against Saxon, and its request for an award of

attorneys' fees and costs, and summary judgment was entered against the

Defendants, jointly and severally, in the principal amount of $639,448.83, plus

accrued and unpaid interest in the amount of $119,857.43, plus additional interest

accruing at the per diem rate of $93.25 from November 9, 2012 through the date of




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judgment, plus reasonable attorneys' fees and costs. Docket No. 59.1 The Court

denied RREF's motion as to its equitable claims against Dorsey and Cleveland, and

noted that RREF's claim of account stated remains pending before the Court.

                                 RELIEF REQUESTED

A.           Dismissal of Certain Claims.
             6.   As summary judgment has been entered against Defendants, jointly

and severally, in the amount of the outstanding indebtedness owed to RREF,

including reasonable attorneys' fees and costs (in an amount to be determined by

this Court),2 RREF has obtained the monetary relief it seeks under the Complaint.

Consequently, RREF seeks to dismiss the claims which remain pending against the

Defendants, specifically, Counts III and IV as to Dorsey and Cleveland, and Count

V as to all Defendants.

             7.   Pursuant to Rule 41(a)(2), "an action may be dismissed at the

plaintiff's request only by court order, on terms that the court considers proper."

The dismissal is without prejudice unless the order states otherwise. Rule 41(a)(2).

Accordingly, RREF moves the Court, pursuant to Rule 41(a)(2), for the entry of an

order dismissing without prejudice the claims which remain pending against

             1
          The Court found RREF's evidence regarding attorneys' fees and costs insufficient to
establish the reasonableness of the amount claimed, but granted RREF leave to supplement the
record with additional evidence of its costs and fees on or before September 27, 2013. See
Docket No. 59.
             2
         Pursuant to the Court's Order, RREF will file supplementary evidence in support of its
claim for costs and attorneys' fees.


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Defendants (Counts III and IV as to Dorsey and Cleveland, and Count V as to all

Defendants).

B.           Entry of Final Judgment.

             8.    Upon the dismissal of these claims, no unadjudicated claims will

remain pending before this Court (other than the Court's determination of the

amount of fees and costs to which RREF is entitled pursuant to its Order). RREF

thus requests the entry of a final judgment against Defendants pursuant to Rule

58(a) and (d).

             9.    Pursuant to Rule 58, "[e]very judgment and amended judgment must

be set out in a separate document" and "[a] party may request that judgment be set

out in a separate document as required by Rule 58(a)." Accordingly, RREF moves

the Court, subsequent to the Court's determination of the amount of fees and costs

to which RREF is entitled, for the entry of a final judgment against Defendants

consistent with the Court's Summary Judgment Order, setting forth the judgment

amount for which Defendants are liable.

C.           Receivership.
             10.   In connection with the entry of final judgment in this case, RREF

requests that the Court to continue the ongoing receivership and allow Franklin

Street to remain in possession and control of the Receivership Property, until

further requested by RREF.



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             11.   Pursuant to Rule 66, "[a]n action in which a receiver has been

appointed may be dismissed only by court order."             In general, a receiver is

dismissed when the reason for the receivership has ceased. Consol. Rail Corp. v.

Fore River Ry. Co., 861 F.2d 322, 327 (1st Cir. 1988).               However, "it is

discretionary and not incumbent upon the court to dismiss the receiver when the

debt is discharged." Id.

             12.   The Receivership Order does not expressly limit the duration of the

receivership but, rather, states that the receiver's possession of the assets continues

"until such time as the Court orders otherwise." See Receivership Order, ¶ 4.

Therefore, the Receivership does not automatically end upon the entry of a final

judgment against the Defendants, but will continue until the Court terminates the

receiver's appointment.

             13.   The Receivership Order was entered by this Court because of the

"grossly mismanaged" state of the collateral securing the loan, as well as RREF's

contractual right to a receivership. See Docket No. 17. Despite the judgment

entered against the Defendants, the receivership is still necessary to manage and

maintain the Receivership Property until such time as RREF is able to foreclose the

Receivership Property.         For this reason, RREF requests that the receivership

remain pending until such time as RREF requests its termination, at which time




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RREF will request the entry of an order terminating the receivership and

discharging Franklin Street from its receivership duties.

             WHEREFORE, PREMISES CONSIDERED, RREF respectfully requests

that this Court dismiss without prejudice only those claims set forth herein; enter

final judgment in favor of RREF and against Defendants consistent with the terms

of the Summary Judgment Order, and allow the receivership to continue until

RREF requests its termination. RREF also requests such other and further relief as

this Court deems just.

             Dated this the 25th day of September, 2013.

                                                  /s/ Heather A. Lee
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                          CERTIFICATE OF SERVICE
      I hereby certify that I have served a copy of the foregoing document by
Notice of Electronic Filing, or, if the party served does not participate in Notice of
Electronic Filing, by U.S. First Class Mail, hand delivery, fax or email on this the
25th day of September, 2013:

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